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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 05-cv-00377-WDM-BNB
MOISES CARRANZA-REYES,

Plaintiff,
Vv.

PARK COUNTY, a public entity of the State of Colorado and its governing board;

THE PARK COUNTY BOARD OF COUNTY COMMISSIONERS;

PARK COUNTY SHERIFF’S OFFICE, a public entity of the State of Colorado;

FRED WEGENER, individually and in his official capacity as Sheriff of Park County, Colorado;
MONTE GORE, individually and in his official capacity as Captain of Park County Sheriffs
Department;

VICKIE PAULSEN, individually, and in her official capacity as Registered Nurse for Park
County, Colorado; and

JAMES BACHMAN, M_.D., individually and in his official capacity as Medical Director of the
Park County Jail;

Defendants.

 

PROTECTIVE ORDER

 

Pursuant to the Joint Stipulated Motion for Protective Order filed by the parties, the Court
hereby Orders as follows:

1. This Protective Order shall apply to all documents, materials, and information,
including without limitation, documents produced, answers to interrogatories, responses to
requests for admission, deposition testimony, and other information disclosed pursuant to the

disclosure or discovery duties created by the Federal Rules of Civil Procedure.
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2. As used in this Protective Order, “document” is defined as provided by Fed. R.
Civ. P. 34(a), A draft or non-identical copy is a separate document within the meaning of this
term.

3. One who provides, serves, discloses or files any nonpublic documents or
information in connection with this civil action, and who in good faith believes such documents
or information contains nonpublic personal, personnel, employment, private, medical, or other
information implicating privacy interests or proprietary interests of either the Plaintiff or the
Defendants may designate such documents ot information as “Confidential.” The documents or
information so designated shail be deemed “Confidential Material” subject to this Protective
Order.

4. Confidential Material shall be subject to the following restrictions.
Confidential Material shail be used only for the limited purpose of preparing for and conducting
this civil action (including any appeals), and not for any other purpose whatsoever, and shall not,
without the consent of the party producing it or further Order of the Court, be disclosed in any
way to anyone except those specified in this paragraph:

(a) attorneys actively working on this case;

(b) persons regularly employed or associated with the attorneys actively working on
the case whose assistance is required by said attorneys in the preparation for trial, or at other
proceedings in this case;

(c) the parties and designated representatives of the Defendant;

(d) expert witnesses and consultants retained in connection with this proceeding, to

the extent such disclosure is necessary for preparation, trial or other proceedings in this case;

 
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(e) the Court and its employees (“Court Personnel”);

(f) stenographic reporters who are engaged in proceedings necessarily incident to the
conduct of this action;

(g)  deponents, witnesses, or potential witnesses who execute the attached Exhibit A;

(h) and other persons by written agreement of the parties who execute the attached
Exhibit A.

5, No Confidential Material shall be disclosed to anyone other than the named
parties in this litigation or their counsel until said person first signs an agreement with respect to
the confidentiality of such information in the form attached hereto as Exhibit A. Prior to
disclosing any Confidential Material to any person listed in paragraph 4 above (other than
counsel, persons employed by counsel, Court Personnel and stenographic reporters), counsel
shall provide such person with a copy of this Protective Order and have such person execute a
copy of Exhibit A acknowledging that he or she has read this Protective Order and agreed to be
bound by its provisions. All such acknowledgments shall be retained by counsel and shall be
subject to in camera review by the Court if good cause for review is demonstrated by opposing
counsel,

6. This Protective Order shall not prohibit or restrain any party from performing the
tasks necessary to prepare for trial; however, any redisclosure or communication of the
information covered by this Protective Order, except as specifically allowed by this Protective
Order for the purposes of this litigation only, is strictly prohibited. The object of this Protective
Order is that none of the information revealed in connection with such protections be used for

any purpose other than in relation to this litigation and that no one be allowed to use any
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information produced pursuant to this order in connection with any other issue, dispute, litigation
or charge against any of the parties whether currently pending or contemplated in the future.

7. No reproduction of information disclosed in reliance on this Protective Order is
authorized, except to the extent copies are required to prepare the case for trial, All copies,
excerpts, or summaries made, shown, or given to those authorized hereby and according to the
provisions hereof shall be stamped to indicate the protected and confidential nature of the
disclosed information. Review of Confidential Material by counsel, experts or consultants for the
litigation will not constitute any waiver of the confidentiality of the document or of any
objections to production. The inadvertent, unintentional or in camera disclosure of Confidential
Material shall not, under any circumstances, be deemed a waiver, in whole or in part, of any
claims of confidentiality.

8. Counsel to the parties are required to advise, instruct and supervise all associates,
staff and employees of counsel to keep designated Confidential Material confidential in the
strictest possible fashion. Counsel and the Parties also agree to such treatment of the information
by themselves, and counsel will appropriately instruct their clients as to the protected nature of
the information produced pursuant to this order and the limitations on its use and disclosure.

9, Documents are designated as Confidential Material by placing or affixing on them
(in a manner that will not interfere with their le gibility) the following or other appropriate notice:
“CONFIDENTIAL.”

10. | Whenever a deposition involves the disclosure of Confidential Material, the
deposition or portions thereof shall be designated as Confidential and subject to this Protective

Order. Such designation shall be made on the record during the deposition whenever possible,
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but a party may designate portions of depositions as Confidential after transcription, provided
written notice of the designation is promptly given to all counsel of record within thirty (30) days
after notice by the court reporter of the completion of the transcript. The cover page, those
portions of the original transcripts that contain confidential material shal! bear the legend
“CONFIDENTIAL—SUBJECT TO PROTECTIVE ORDER,” and shall be bound separately
from the non-confidential portions of the transcript. Any deposition exhibits designated
confidential shall also be bound separately.

11. <A party may object to the designation of particular documents as Confidential
Material by giving written notice to the party designating the disputed information. The written
notice shall identify the information to which objection is made. If the parties cannot resolve the
objection within ten (10) business days after the time the notice is received, it shall be the
obligation of the party designating the information as confidential to file an appropriate motion
requesting that the Court determine whether the disputed information should be subject to the
terms of this Protective Order. If such a motion is timely filed, the dispute information sha!l be
treated as confidential under the terms of this Protective Order until the Court rules on the
motion. If the designating party fails to file such a motion within the prescribed time, the
disputed information shall lose its designation as confidential and shall not thereafter be treated
as confidential in accordance with this Protective Order. In connection with any motion filed
under this provision, the party designating the information as confidential shall bear the burden
of establishing that good cause exists for the disputed information to be treated as confidential.

12, After the conclusion of this case, unless other arrangements are agreed upon, each

document and all copies thereof designated as Confidential shall be returned to the party that

 
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designated the material as Confidential, or the parties may elect to destroy confidential
documents, Where the parties agree to destroy confidential documents, the destroying party
shall provide ail parties with an affidavit confirming the destruction. All documents designated
as Confidential shall maintained as Confidential during the three year period following the
conclusion of the case.

13. Stamped confidential documents shall not be filed with the clerk except when
required in connection with motions under Federal Rules of Civil Procedure 12 or 56, motions to
determine confidentiality under the terms of this Protective Order, and motions related to
discovery disputes if the confidential documents are relevant to the motion. A_ party

eontemplativg filing Confidential Material protected by this Protective Order to the Court must
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14. = This Protective Order may be modified by the Court at any time for good cause

shown following notice to all parties and an opportunity for them to be heard.

15. Nothing in this Protective-Order shall prevent any party or other person from
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seeking modification of this order or from objecting to discovery that the party or other person
believes to be improper. Nothing in this Protective Order shall prejudice the right of any party to
contest the alleged relevancy, admissibility, or discoverability of confidential documents or
information sought.
*
Dated this > day of October, 2005.
BY THE COURT:

Boyd NéBoland
United States Magistrate Judge
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil] Action No. 05-cv-00377-WDM-BNB
MOISES CARRANZA-REYES,
Plaintiff,
v.
PARK COUNTY, et. al.

Defendants,

 

EXHIBIT A TO PROTECTIVE ORDER — CONFIDENTIALITY AGREEMENT

 

I, , the undersigned, being duly sworn, hereby
acknowledge that I have read the Protective Order issued by the Court in the above captioned civil action
and I understand the terms and conditions of such Protective Order governing the restricted use of
information and materials obtained from the Parties and provided to me for the sole purposes of the above
captioned action, and hereby agree to keep all such information and materials strictly and absolutely
confidential, and in all other respects to be bound by the terms of the Protective Order.

My current address and telephone number is:

Signature
STATE of )
ss.
COUNTY of }

The foregoing Confidentiality Agreement was sworn and acknowledged to before me by
on this day of ,200

 

Witness my hand and official seal.
{seal}
Notary Public
My commission expires:

 
